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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )         Court No.: 14-cr-10363-RGS-3-5, 7-9,
      v.                      )                     11-12
                              )
GENE SVIRSKIY ET AL.,         )
                              )
            Defendants.       )
______________________________)

                    GOVERNMENT’S RESPONSE TO TRIAL ORDER
                    WITH RESPECT TO REMAINING DEFENDANTS

       Pursuant to this Court’s Trial Order with Respect to Remaining Defendants (Doc. No.

1557), the United States submits the following proposed neutral description of the case to be

provided to the venire, attached as Exhibit A. The government is also providing a red-lined version

to clearly identify the proposed changes from the Court’s original version.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     UNITED STATES ATTORNEY

                                             By:     /s/ George P. Varghese
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Dated: September 19, 2018
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                                     Certificate of Service

        I hereby certify that the foregoing documents filed through the ECF system will be sent
electronically to counsel for the defendant, who is a registered participant as identified on the
Notice of Electronic Filing (NEF).


                                            By:     /s/ George P. Varghese
                                                    GEORGE P. VARGHESE
                                                    Assistant United States Attorney
Dated: September 19, 2018
